           Case 1:20-cv-03439-JPB Document 11 Filed 11/18/20 Page 1 of 2




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 ALEXANDER CORDERO

          Plaintiff,

          v.                                        CIVIL ACTION NO.
                                                    1:20-CV-3439-JPB
 HERRINGTON CENTER, LLC

      Defendant.

                                       ORDER

      On November 17, 2020, the Plaintiff in this matter notified the Court that the

parties have reached a settlement and that they intend to file a dismissal in the near

future.

      For docket management purposes, the Clerk is DIRECTED to

ADMINISTRATIVELY CLOSE this case. Administrative closure will not

prejudice the rights of the parties to this litigation in any manner nor preclude the

filing of documents. If settlement negotiations fail, the parties need only file a

motion to reopen the case within the time period covered by this Order.

      The parties are ORDERED to file the appropriate documents to dispose of

the case within sixty days. Absent an extension or further order of the Court,

if no request to reopen the case is made within the sixty days, the Court may

dismiss the case with prejudice.
 Case 1:20-cv-03439-JPB Document 11 Filed 11/18/20 Page 2 of 2




SO ORDERED this 18th day of November, 2020.


                            ________________________________
                            J. P. BOULEE
                            United States District Judge




                              2
